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5
     Attorney for TINA MARIE BINI,
6    Defendant
7
                            IN THE UNITED STATES DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                    No. 2:13-CR-0332-GEB
11

12                     Plaintiff,

            v.                                  STIPULATION REGARDING EXCLUDABLE
13                                              TIME PERIODS UNDER SPEEDY TRIAL
     TINA MARIE BINI and                        ACT; (PROPOSED) FINDINGS AND ORDER
14
     MATTHEW LEE BOYLE,
15
                       Defendants.
16

17
            It is hereby stipulated and agreed by and between the parties hereto, through
18
     their respective counsel, as follows:
19
            1. By previous order, this matter was set for status on February 27, 2015.
20
            2. By this stipulation, defendants now move to continue the status conference
21
                 until April 17, 2015, and to exclude time between February 27, 2015, and April
22
                 17, 2015, under Local Code T4.
23
            3. The parties agree and stipulate and request that the Court find the following:
24
                 a. The Government has represented that discovery associated with this case
25
                    consists of 25 DVD/CD’s containing Bates Nos. 0001 – 04115, and Nos.
26
                    BB0001 - 00197. All of this discovery has been produced directly to
27
                    counsel.
28
                                                  1
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1          b. Counsel for defendants desire additional time to review discovery, consult

2              with their clients, continue to conduct investigation and research related to

3              the charges, discuss potential resolutions with the Government and with

4              their clients and to otherwise prepare the case. Counsel for defendants

5              believe that failure to grant the above-requested continuance would deny

6              them reasonable time necessary for effective preparation, taking into

7              account the exercise of due diligence.

8          c. The Government does not object to the continuance.

9          d. Based on the above-stated findings, the ends of justice served by

10             continuing the case as requested outweigh the interest of the public and

11             the defendant in a trial within the original date prescribed by the Speedy

12             Trial Act.

13         e. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

14             Section 3161, et seq., within which trial must commence, the time period of

15             February 27, 2015, to April 17, 2015, inclusive, is deemed excludable

16             pursuant to 18 U.S.C. Section 3161(h)(7)(A), B(iv) (Local Code T4)

17             because it results from a continuance granted by the Court at defendants’

18             request on the basis of the Court’s finding that the ends of justice served

19             by taking such action outweigh the best interest of the public and the

20             defendants in a speedy trial.
21
        4. Nothing in this stipulation and order shall preclude a finding that other
22

23         provisions of the Speedy Trial Act dictate that additional time periods are

24         excludable from the period within which a trial must commence.

25
        IT IS SO STIPULATED.
26
                                           ///
27
                                           ///
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                                                 2
       Case 2:13-cr-00332-DAD Document 49 Filed 02/26/15 Page 3 of 3


1    Dated: February 18, 2015                 /s/ Candace A. Fry
                                              CANDACE A. FRY, Attorney for
2                                             TINA MARIE BINI, Defendant
3

4    Dated: February 18, 2015                   /s/ Candace A. Fry for
                                              JAMES R. GREINER, Attorney for
5                                             MATTHEW LEE BOYLE, Defendant
6

7    Dated: February 18, 2015                 BENJAMIN B. WAGNER,
                                              United States Attorney
8

9                                             By /s/ Candace A. Fry for
                                              TODD A. PICKLES, Assistant
10
                                              United States Attorney
11
                                              (Signed for Mr. Greiner and Mr. Pickles
12                                            with their prior authorization)
13

14
                                      ORDER
15

16               IT IS SO FOUND AND ORDERED.
17   Dated: February 26, 2015
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